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COMPOSITE
EXHIBIT 5
(File Under Seal)

 

 
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Page 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CASE NO. 15-CV-07433-RWS

a eee eee ae ee ew oe eee eB SE Se x
VIRGINIA L. GIUFFRE,
Plaintiff,
Vv.
GHISLAINE MAXWELL,
Defendant.
a—e ee eee ee ee ee ee ee ee er eM BP eM eM Re eB BeBe rr tT tee x

June 1, 2016
9:12 a.m.

CONFIDENTIAL
Deposition of JOHN ALESSI, pursuant
to notice, taken by Plaintiff, at the
offices of Boies Schiller & Flexner, 401
Las Olas Boulevard, Fort Lauderdale, Florida,
before Kelli Ann Willis, a Registered
Professional Reporter, Certified Realtime
Reporter and Notary Public within and
for the State of Florida.

 

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Page 28
1 JOHN ALESSI
2 Q. And where did the massage therapists -
3 where did they come from?
4 A. Most, they came from Palm Beach. Palm
5 Beach County.
6 Q. And over the course of that 10-year period

7 of time while Ms. Maxwell was at the house, do you
8 have an approximation as to the number of different
9 females -- females that you were told were massage

10 therapists that came to the house?

11 MR. PAGLIUSCA: Object to form and

12 foundation.

13 THE WITNESS: I cannot give you a number,
14 but I would say probably over 100 in my stay
15 there.

16 BY MR, EDWARDS:

17 Q. And many of the times would the females
18 come only one time and not return?

19 MR. PAGLIUSCA: Object to form and

20 foundation.

21 BY MR. EDWARDS:

22 Q. Let me ask that a different way.
23 Were there times when some of these
24 females that would come to the house, and you were

25 told that they were massage therapists, would come

 

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Page 30
JOHN ALESSI
BY MR. EDWARDS:
OQ. Okay. And who would find the massage
therapist to bring to the house?
A. They would call me in my office, and they

would say, Get me a massage at 10:00 with this
person.

T have a list of the massage therapists, a
Rolodex, or a card, and I would call them for the
specific time they want a massage. And I would do

that.
Q. I don't think I asked the right -- the

question that I was looking to ask, so let me go

back.
Did you go out looking for the girls --
A. No.
Q. -- to bring --
A. Never.
Q. -- as the massage therapists?
A. Never.
Q. Who did?
A. Ms. Maxwell, Mr. Epstein and their

friends, because their friends relayed to other
friends they knew a massage therapist and they would

send to the house. So it was referrals.

 

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JOHN ALESSI
CERTIFICATE OF OATH
STATE OF FLORIDA )
COUNTY OF MIAMI-DADE )

I, the undersigned authority, certify
that JOHN ALESSI personally appeared before me
and was duly sworn.

WITNESS my hand and official seal
this lst day of June, 2016.

Kelli Ann Willis, RPR, CRR
Notary Public, State of Florida
Commission FF928291, Expires 2-16-20
++teeteteeee tte eee t
CERTIFICATE
STATE OF FLORIDA }
COUNTY OF MIAMI-DADE )

I, Kelli Ann Willis, Registered
Professional Reporter and Certified Realtime
Reporter do hereby certify that I was
authorized to and did stenographically report the
foregoing deposition of JOHN ALESSI; that a review
of the transcript was not requested; and that the
transcript is a true record of my stenographic
notes.

I FURTHER CERTIFY that I am not a
relative, employee, attorney, or counsel of any
of the parties, nor am I a relative or employee of
any of the parties! attorney or counsel connected
with the action, nor am I financially interested
in the action.

Dated this ist day of June, 2016.

KELLI ANN WILLIS, RPR, CRR

 

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